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Exhibit J
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In the Matter Of:

Fair Fight vs Raffensperger

Chris Harvey - Confidential
December 05, 2019

Trustpoint.One

3200 COBB GALLERIA PARKWAY
SUITE 265
ATLANTA, GA 30339

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Fair Fight vs Raffensperger Chris Harvey - Confidential 12/05/2019
aL UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
2 ATLANTA DIVISION
3 FAIR FIGHT ACTION, et )
al., )
& )
Plaintiffs, )
5 )
vs. ) CIVIL ACTION NO.
6 )
BRAD RAFFENSPERGER, in ) 1:18-CV-05391-SCJI
7 his official Capacity as )
Secretary of State of )
8 Georgia; et al., )
)
9 Defendants. )
10
2. THIS DEPOSITION CONTAINS INFORMATION DESIGNATED
CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
12
13 DEPOSITION OF CHRIS HARVEY
14 (Taken by Plaintiffs)
15 December 5, 2019
16 9:37 a.m.
17
18
19
20 Suite 1650
1180 West Peachtree Street
21 Atlanta, Georgia
22
za
24
25 Reported by: Debra M. Druzisky, CCR-B-1848
Trustpoint.One 3200 Cobb Galleria Parkway, Suite 265

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Fair Fight vs Raffensperger Chris Harvey - Confidential 12/05/2019
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Also Present:
12
Mike Brown, videographer
13
--000--
14
15
16
17
18
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20
21
22
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24
25
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1 there's a press release dated May 30th, 2019 --
2 A. Uh-huh.
2 Q. -- about how county registrars will begin
4 sending notices to Georgia voters.
a A. Yes.
6 Os Correct?
7 And the last page of Exhibit 72 is the
8 press release.
3 A. Yes.
LO Gr. Okay. And in this press release, there
11 is -- you are quoted in the fourth paragraph?
1 A. Yes.
13 QO. And you're quoted as saying:
14 "Accurate voter rolls are a
LS crucial component of secure and
16 efficient elections.
17 "By partnering regularly with
18 stakeholders like the U.S. Postal
19 Service, we're ensuring that only
20 registered eligible voters are
21 participating in their elections and
22 that every voter is assigned to the
23 correct precinct on Election Day."
24 Correct?
25 A. Yes.
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1 Q. Okay. Do the stakeholders that you're
2 referring to there include E.R.I.C.?
2 A. It will. At that point our membership in
= E.R.I.C. had not -- I don't know what the status
5 was, but I think we were in the process of joining.
6 But E.R.I.C. will be a stakeholder or partner.
a Q. Okay. And if partnering with stakeholders

8 like the U.S. Postal Service and E.R.I.C. ensure

9 that only registered eligible voters are

10 participating in elections, why is Georgia removing
11 or cancelling people from the voter rolls because
12 they haven't had contact with the Secretary of

13 State's office?

14 MR. BELINFANTE: Object to the form.
15 THE WITNESS: Because that's what the
16 Georgia law requires.

Le BY MS. TANIS:

18 Os But is there any reason for that anymore?
19 I mean, what's the rationale for remove --
20 cancelling a voter who may not have moved simply
2d. because the voter hasn't had contact with the

22 Secretary of State's office when you have these

ao partners like the U.S. Postal Service and E.R.I.C.?

24 MR. BELINFANTE: Object to the form.
25 THE WITNESS: Again, that's what the
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1 Georgia legislature has said we need to
2 do.
3 BY MS. TANIS:
4 Oi, Any other reason?
5 A. That's the prime reason.
6 OG. Did the Secretary of State provide
7 information or recommendations or any other
8 information to the legislature in connection with
9 this statutory provision?
10 MR. BELINFANTE: Object to the form.
aL THE WITNESS: I don't believe so.
2 BY MS. TANTS:
13 Q. I mean, you testified before about, with

14 H.B. 316, the Secretary of State's office was

LS supportive of the changes that were made; correct?
16 A. Yes.
17 0. Okay. In that process did the Secretary

18 of State's office inform the legislature that it
19 didn't make much sense, if it was going to be

20 joining E.R.I.C. particularly, to continue to

21 cancel voters just because they hadn't had contact

22 with the Secretary of State's office?

23 MR. BELINFANTE: Object to the form.
24 THE WITNESS: I don't believe we made
25 that point.
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1 Now, there were some changes in the
2 process in 316 where the time was extended
a to five years and also the requirement
4 that we provide written notice to people
5 in advance.
6 And like I said, we didn't -- our
y office didn't object to those changes to
8 the system.

9 BY MS. TANIS:

10 Q. Has the Secretary of State's ever --
£1 office ever looked into the number of people who
LZ move out of the state of Georgia each year?
13 A. We've actually done a little bit of look
14 at some Census Bureau data. And it's -- so we
15 actually looked at a little bit of that earlier

16 this year.

17 Q. And what was the reason for the Secretary
18 of State looking at that information?

19 A. I think it was to evaluate the -- get some
20 basic numbers to see if it was consistent with
21 patterns of voters being added or deleted from the
22 voter list.
23 C. In looking at that census data, did the
24 Secretary of State exclude from those numbers

25 people who wouldn't be eligible to vote, like kids

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1 or other categories of people who wouldn't be
2 eligible to vote?
3 A. I don't believe so. I think they looked
4 at some gross numbers.
5 Q. If a voter has not, in fact, moved but has
6 had their registration cancelled for not having
7 contact with the Secretary of State's office for
8 the time period specified in the Georgia Election
9 Code, does that removal or cancellation of that
10 registration make the voter rolls more accurate?
wi. MR. BELINFANTE: Object to the form.

12 THE WITNESS: Well, to clarify, it's

13 not just contact with the Secretary of

14 State's office. It's contact with the,

15 basically the entire voting system.

16 Because it could be a change made to your

Le? county registration office.

18 So just to clarify, they don't have

19 to contact the Secretary of State's

20 office. If they make a change or vote in

21 a county election or sign a petition or

22 update their name or their address in

23 their county, that also keeps them off of

24 this list.

25 BY MS. TANIS:

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1 QO. Okay. Well, let me -- regardless of that,
2 if someone hasn't moved but hasn't had the contact
S with the county or the Secretary of State, does the
4 cancellation of that voter's registration make the
5 registration rolls more accurate?
6 MR. BELINFANTE: Object to the form.
a THE WITNESS: It might.
8 BY MS. TANIS:
9 QO. How?
10 A. If the voter -- are you saying if the
11 voter hasn't moved?
Le QO. Has not moved.
13 A. Okay. If the voter has not moved and the
14 voter is still alive and still there, I don't know
15 that it has an impact.
16 Q. Well, the impact is actually to make the
17 voter rolls less accurate, isn't it? Because now
18 an eligible voter has been removed from the
19 registration list --
20 MR. BELINFANTE: Object to the form.

21. BY MS. TANIS:

22 Q. -- or cancelled from the registration
23 list.
24 A. They're, at that point they're not

25 eligible based on Georgia law.

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L Os Yes. But you've got that voter ina
2 Catch-22 now with what you're saying, don't you?
a A. EL don't.
4 i Well, the legislature does, I'll say.
5 A. Maybe the legislature does.
6 0. Okay. And removing a voter who hasn't
7 moved -- or strike that. Let me start over.
8 Cancelling the registration of a voter who

9 hasn't moved and whose registration is being
10 cancelled purely because that person hasn't had
11 contact, as that term is described in the statute,

12 doesn't do anything to prevent fraud, does it?

13 MR. BELINFANTE: Object to the form.
14 THE WITNESS: I don't think I know
LS the answer to that question.

16 BY MS. TANIS:

17 Q. Okay. I mean, that voter is still a

18 legitimate voter, eligible voter; correct?

LS A. Well, once the provisions of the law are

20 enacted, they're not an eligible voter.

21 O. No, but I'm saying just the existence --
22 if I'm somebody who has stayed at my same address
23 for 20 years, and for whatever reason I haven't had

24 any contact with the county or the voting system

25 for ten years, if my registration is cancelled,

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that doesn't do anything to prevent fraud, does it?

A. Well, you would have also -- and now you

1
2
3 would have not taken two opportunities to respond
4 to mailings that were sent in order to become

5 inactive in the first place. So there would have

6 been two attempts to reach out to confirm that

7 you're still there that you would have not

8 responded to.

9 But for whatever reason, if somebody

10 didn't respond to that, then the effect that would
11 have on fraud; was that your question?
12 C. Right.

Ls A. Again, that's the -- that's a question for
14 the legislature.
LS QO: I know. But in your experience, you've
16 been doing this for a long time, the person who
17 hasn't moved but who hasn't had contact with the

18 Secretary of State's office or the counties or

19 however that's defined in the statute --

20 A. And has --
21 Q. -- does not --
22 A. -- failed to respond to requests?
22 Q. -- and has failed to respond, right, does
24 not prevent -- or does not present a fraud risk;
25 correct?
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1 MR. BELINFANTE: Object to the form.
2 THE WITNESS: I don't know that -- I
3 don't know -- I'm not sure I can say
- conclusively "yes" or "no."
5 BY MS. TANIS:
6 Oo. But there's -- I mean, other than there
7 might be some other fact, but there's nothing
8 inherent about not having contact --
9 MR. BELINFANTE: I think we've --

10 BY MS. TANIS:

41, Q. -- with the registra -- or with the voting

iz system <=
Ls MR. BELINFANTE: I think we've --

14 BY MS. TANIS:

LS QO. -- that makes somebody a greater risk of

16 fraud, is there?

17 MR. BELINFANTE: I think he's

18 asked --

LS THE WITNESS: I think I've - --

20 MR. BELINFANTE: -- and answered the
21 question.

22 THE WITNESS: -- tried to answer this
23 question as best I can.

24 BY MS. TANIS:

Zi Q. Okay. So you can't say one way or the

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a other; right?

2 A. That's what I've said --

3 (es Okay.

4 A. -- before, yes.

5 Dis How does the Secretary of State's office
6 know whether people being cancelled from the voter
7 rolls for not having contact have received the

8 required notices?

9 A. There's documentation that they've been

10 sent in E-net. So if a county generates a

14 confirmation notice for whatever reason, that's an
12 auditable fact in E-net. And then now, with the
13 second notices required, we actually print them and
14 send them, so we know they've been sent.

15 As far as knowing that they got them,

16 that's a different story.

7 O. And when you say we now print them, are
18 you saying the Secretary of State's office prints
13 them?

20 A. We print them and then send them to the
24. counties to mail out.

22 Q. So does the county have any actual

BS physical evidence that it has sent out those

24 notices?
25 A. They have a document in E-net that would
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